               Case 3:24-cv-03967-AMO Document 21 Filed 09/06/24 Page 1 of 3




 1 BRIAN M. BOYNTON
   Principal Deputy Assistant Attorney General, Civil Division
 2 AMANDA N. LISKAMM
   Director, Consumer Protection Branch
 3
   MAX J. GOLDMAN (NYBN 5304597)
 4 Trial Attorney, Civil Division
   United States Department of Justice
 5
           450 5th Street, N.W.
 6         Washington, DC 20001
           Telephone: (202) 353-7664
 7
           Email: max.j.goldman@usdoj.gov
 8
   Attorneys for Petitioner
 9 UNITED STATES OF AMERICA

10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        )   Civil Action No. 3:24-cv-03967-AMO
                                                      )
15           Petitioner,                              )
                                                      )   UNITED STATES’ ADMINISTRATIVE
16      v.                                            )   MOTION TO CONSIDER WHETHER
                                                      )   ANOTHER PARTY’S MATERIAL SHOULD
17   IRHYTHM TECHNOLOGIES, INC.,                      )   BE SEALED
                                                      )
18                                                    )
             Respondent.
                                                      )
19                                                    )
                                                      )
20

21

22

23

24

25

26

27

28
     UNITED STATES’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL
     SHOULD BE SEALED
     NO. 3:24-CV-03967-AMO
               Case 3:24-cv-03967-AMO Document 21 Filed 09/06/24 Page 2 of 3




 1           Pursuant to Civil Local Rules 7-11 and 79-5(f), Petitioner United States of America

 2 (“Government”) submits this Administrative Motion to Consider Whether Another Party’s Material

 3 Should be Sealed.

 4           Attached to this Motion, the Government submits its Reply in Support of its Petition for an Order

 5 to Show Cause to Enforce its Administrative Subpoena (“Reply”). Respondent has designated certain

 6 information in the Government’s Reply as sensitive commercial information or personally identifiable

 7 information that is sealable. As Respondent iRhythm has designated certain material as confidential, the

 8 Government seeks to file its Reply under seal to allow Respondent the opportunity to review the

 9 Government’s Reply, designate what material it believes should be filed under seal and file a statement

10 and/or declaration as described in 79-5(c), within 7 days with pursuant to the protocol as described under

11 LR 79-5(f). Petitioner continues to argue that these materials or information do not satisfy the requirements

12 for sealing and reserves the right to challenge any confidentiality designations and to oppose any statement

13 by Plaintiffs in accordance with Civil Local Rule 79-5(f)(4).

14    Document         Dkt. No.   Dkt. No. of   Dkt.       Party with     Full or   Brief                       Granted/
      title or         of         unredacted    No. of     burden to      partial   statement of                Denied
15    description      redacted   version       decl. in   substantiate   sealing   reason for
                       version                  support    need to seal   sought    sealing (with
16                                              of                                  citation to
                                                sealing                             corresponding
17                                                                                  declaration in
                                                                                    support of
18
      Government’s                21-2          21-1       Respondent     Full      Respondent’s assertion
      Reply in                                                                      that certain material is:
19
      Support of its
      Petition.
                                                                                    Confidential iRhythm
20                                                                                  Commercial
                                                                                    Information: The
21
                                                                                    redacted material
22                                                                                  contains confidential
                                                                                    commercial information
23                                                                                  that is sensitive,
                                                                                    customarily treated as
24                                                                                  private, and was
                                                                                    provided to the
25
                                                                                    Government in
26                                                                                  confidence. Not sealing
                                                                                    this confidential
27                                                                                  commercial information
                                                                                    will continue to harm
28
     UNITED STATES’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL
     SHOULD BE SEALED
     NO. 3:24-CV-03967-AMO
              Case 3:24-cv-03967-AMO Document 21 Filed 09/06/24 Page 3 of 3




 1   Document       Dkt. No.   Dkt. No. of   Dkt.       Party with     Full or   Brief                      Granted/
     title or       of         unredacted    No. of     burden to      partial   statement of               Denied
 2   description    redacted   version       decl. in   substantiate   sealing   reason for
                    version                  support    need to seal   sought    sealing (with
 3                                           of                                  citation to
                                             sealing                             corresponding
 4                                                                               declaration in
                                                                                 support of
 5
                                                                                 iRhythm competitively.
 6                                                                               All information, apart
                                                                                 from the redacted
 7                                                                               portion, remains
                                                                                 available to the public.
 8

 9                                                                               Personally Identifiable
                                                                                 Information: The
10                                                                               redacted material
                                                                                 contains personally
11                                                                               identifying information
                                                                                 pertaining to the name
12
                                                                                 of former employees
13                                                                               and third parties. Not
                                                                                 sealing this personally
14                                                                               identifiable information
                                                                                 could potentially
15                                                                               damage individual
                                                                                 privacy interests.
16

17

18          For the reason set forth above, Petitioner, United States of America, respectfully requests that the

19 Court permit the unredacted Reply to be conditionally filed under seal.

20

21 Dated: September 6, 2024                                   Respectfully Submitted,

22

23                                                            AMANDA N. LISKAMM
                                                              Director, Consumer Protection Branch
24

25                                                            /s/ Max J. Goldman
                                                              Max J. Goldman
26
                                                              Trial Attorney
27                                                            Attorney for Petitioner United States of America

28
     UNITED STATES’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL
     SHOULD BE SEALED
     NO. 3:24-CV-03967-AMO
